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 1   BRUCE LOCKE (#177787)
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 4   Attorneys for
     LEONARD BERNOT
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-08-93 FCD
                                         )
 9                     Plaintiff,        )                 WAIVER OF PERSONAL
                                         )                 APPEARANCE AT ARRAIGNMENT
10                                       )                 ON SUPERCEDING INDICTMENT
           v.                            )
11                                       )
     LEONARD BERNOT,                     )
12                                       )
                       Defendant.        )
13   ____________________________________)
14          Pursuant to Rule 10(b) of the Federal Rules of Criminal Procedure, I, LEONARD BERNOT,
15   hereby waive my personal appearance at the arraignment on the superceding indictment in this case.
16          I acknowledge and understand that I have the right to appear personally with my attorney
17   before a judicial officer for arraignment in open court on the above-numbered Indictment. I further
18   understand that, absent the present waiver, I must appear before this court as directed.
19          I affirm that I have received a copy of the Indictment, that I waive a formal reading of the
20   Indictment in open court, and I hereby enter a plea of not guilty and demand a jury trial.
21          I further agree that my interest will be deemed represented at all times by the presence of my
22   attorney, the same as if I were personally present, and further agree to be present in court ready for
23   trial any day and hour the court may fix in my absence.
24          I further acknowledge that I have been informed of my rights under Title 18 U.S.C. Sections
25   3161-3174 (Speedy Trial Act), and authorize my attorney to set times and delays under the Act
26   without my being present.
27
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29                                                     1
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 1   DATED: February 24, 2010                    /S/ Leonard Bernot
                                            LEONARD BERNOT
 2                                          Original in Attorney’s file
 3
     DATED:February 25, 2010                    /S/ Bruce Locke
 4                                          BRUCE LOCKE
                                            Attorney for Leonard Bernot
 5
 6
 7
            The Defendant’s Waiver of Personal Appearance at Arraignment on the Superceding
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     Indictment is accepted.
 9
     DATED: February 25, 2010.
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